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                                                                        FILED
                                                                            OCT 2 2 2018
                  IN THE UNITED STATES DISTRICT COURT                 Clerk, U.S Diitrict Court
                                                                        District Of Montana
                      FOR THE DISTRICT OF MONTANA                             Missoula
                           MISSOULA DIVISION

 GATEWAY HOSPITALITY GROUP                           CV 18-136-M-DLC
 INC., WESTERN HOSPITALITY
 GROUP, LP d/b/a HILTON GARDEN
 INN MISSOULA, KALISPELL
 HOTEL, LLC d/b/a HILTON
 GARDEN INN KALISPELL,
 BOZEMAN LODGING INVESTORS,                                  ORDER
 LLC d/b/a HILTON GARDEN INN
 BOZEMAN, JWT HOSPITALITY
 GROUP, LLC d/b/a HILTON
 GARDEN INN BILLINGS, and JOHN
 DOES 1-5,

                      Plaintiffs,

        vs.

 PHILADELPHIA INDEMNITY
 INSURANCE COMPANY, and JOHN
 DOES I-X,

                     Defendants.


      Pursuant to the Notice of Voluntary Dismissal (Doc. 8) filed by the

Plaintiffs and Federal Rule of Civil Procedure 41 (a)( 1),

      IT IS ORDERED that this action is DISMISSED WITHOUT PREJUDICE.

All deadlines are VACATED and any pending motions are DENIED as moot.
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DATED this 22.,J. day of October, 2   8.




                             Dana L. Christensen, Chief Judge
                             United States District Court
